        Case 1:21-cv-00279-DAE Document 65 Filed 01/23/24 Page 1 of 2

                                                                          FILED
                                                                     January 23, 2024
                      UNITED STATES DISTRICT COURT                 CLERK, U.S. DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS                   WESTERN DISTRICT OF TEXAS

                            AUSTIN DIVISION                                       ps
                                                                BY: ________________________________
                                                                                        DEPUTY

ANALISA R ET AL.                         §     No. 1:21-CV-0279-DAE
                                         §
      Plaintiffs                         §
                                         §
vs.                                      §
                                         §
AUSTIN INDEPENDENT SCHOOL                §
DISTRICT                                 §
    Defendant                            §
                                         §
                                         §

            ORDER WITHDRAWING TEXT ORDER AND
        ORDER REFERRING MATTER TO MAGISTRATE JUDGE

      The matter before the Court is the status of this case. It is the Order of this

Court that the text order, entered on January 10, 2024, referring this case to United

States Magistrate Judge Lane for the purpose of mediation is hereby

WITHDRAWN.

       The Court, having reviewed the Parties Joint Motion for Referral to

Mediation (dkt no. 64), has determined that the motion should be GRANTED.

       Further, in accordance with the authority vested in the United States

Magistrate Judge pursuant to 28 U.S.C. § 636(b), the instant action is hereby

REFERRED to United States Magistrate Howell for the purpose mediation. Upon
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completion of mediation, the undersigned retains full jurisdiction over all other

matters.

      IT IS SO ORDERED.

      DATED: Austin, Texas, January 23, 2024.




                                           David Alan Ezra
                                           Senior United States District Judge
